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           22-2908(L)             22-2972 (Con)
.


                          United States Court of Appeals
                             For the Second Circuit
           IVAN ANTONYUK, COREY JOHNSON, ALFRED TERRILLE, JOSEPH MANN,
                       LESLIE LEMAN, AND LAWRENCE SLOANE,
                                                 Plaintiffs-Appellees
                                          v.
     STEVEN P. NIGRELLI, IN HIS OFFICIAL CAPACITY AS ACTING-SUPERINTENDENT OF THE
       NEW YORK STATE POLICE, MATTHEW J. DORAN, IN HIS OFFICIAL CAPACITY AS THE
    LICENSING OFFICIAL OF ONONDAGA COUNTY, JOSEPH CECILE, IN HIS OFFICIAL CAPACITY
                          AS THE CHIEF OF POLICE OF SYRACUSE,
                                                      Defendants-Appellants
    KATHLEEN HOCHUL, IN HER OFFICIAL CAPACITY AS THE GOVERNOR OF THE STATE OF
      NEW YORK, WILLIAM FITZPATRICK, IN HIS OFFICIAL CAPACITY AS THE ONONDAGA
     COUNTY DISTRICT ATTORNEY, EUGENE CONWAY, IN HIS OFFICIAL CAPACITY AS THE
    SHERIFF OF ONONDAGA COUNTY, P. DAVID SOARES, IN HIS OFFICIAL CAPACITY AS THE
    DISTRICT ATTORNEY OF OSWEGO COUNTY, DON HILTON, IN HIS OFFICIAL CAPACITY AS
    THE SHERIFF OF OSWEGO COUNTY, JOSEPH STANZIONE, IN HIS OFFICIAL CAPACITY AS
                     THE DISTRICT ATTORNEY OF GREENE COUNTY,
                                                   Defendants

                ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


                 PLAINTIFFS-APPELLEES’ ANSWERING BRIEF
              IN RESPONSE TO DEFENDANT-APPELLANT CECILE

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                               ISSUE PRESENTED

1.    Did the district court abuse its discretion in granting Plaintiffs a preliminary

injunction on multiple portions of the New York Concealed Carry Improvement Act?

                           STATEMENT OF THE CASE
      Summary of the Challenged Statute. On June 23, 2022, the Supreme

Court struck down the State of New York’s requirement that a person demonstrate

that “proper cause exists” as a condition of being granted a license to possess and

carry a handgun. N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111, 2123 (2022)

(hereinafter Bruen).   Perhaps even more importantly, the Court explained the

appropriate analytical framework to be used in resolving future Second Amendment

challenges. Id. at 2156. In so doing, the Court rejected the atextual “two-step” test

widely adopted by most circuit courts, including this Court, instead establishing the

requirement that any restriction on firearms freedom must be grounded in the text

and “historical tradition” of the Second Amendment. Id. at 2126.

      Eight days later, the New York legislature and Governor Kathy Hochul fought

back, enacting into law a poorly named and ineptly drafted statute entitled the

“Concealed Carry Improvement Act” (“CCIA”). See 2022 N.Y. Sess. Laws ch. 371.

Rather than complying with the Supreme Court’s decision, New York thumbed its

nose at the Court – calling Bruen reprehensible, reckless, and politicized1 – and

created a new statutory scheme which made the concealed carry of firearms far more

restrictive, and the licensing process far more onerous, than before Bruen.


      1 A. Hagstrom, “NY Gov. Hochul Defiant After Supreme Court Gun Decision:
‘We’re Just Getting Started,’” FOX NEWS (June 23, 2022), https://fxn.ws/3HPDiHu.

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      Among its cornucopia of new restrictions, the CCIA replaces the repudiated

requirement that an applicant for licensure demonstrate “proper cause” with the

requirement that the applicant demonstrate, to the satisfaction of the State, “good

moral character” – defined as “having the essential character, temperament and

judgment necessary to be entrusted with a weapon and to use it only in a manner

that does not endanger oneself or others.” N.Y. Penal Law § 400.00(1)(b); Special

Appendix (“SA”) 238.

      Purportedly to help licensing officials determine whether an applicant has

“good moral character,” the CCIA demands that the applicant: (i) attend an in-person

“interview” with the licensing official to discuss whatever topics the official deems

relevant; (ii) provide a list of the names of and contact information for the applicant’s

spouse, children, and cohabitants; (iii) provide at least four “character references”

who can attest to the applicant’s “good moral character;” (iv) complete 16 hours of in-

person training plus two hours of in-person “live fire” training, costing several

hundreds of dollars; (v) provide information about the applicant’s social media

accounts for the past three years; and (vi) provide “such other information required

by the licensing officer that is reasonably necessary and related to the review of the

licensing application.” N.Y. Penal Law § 400.00(1)(o)(i)-(v); SA239.

      Next, taking the Supreme Court’s warning not “to effectively declare the island

of Manhattan a ‘sensitive place’” as a challenge, the CCIA declares virtually the entire

landmass of New York State off limits to the possession of firearms. First, the CCIA

declares 20 broad categories (including scores of sub-categories) of places to be so-




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called “sensitive locations” where firearm possession is entirely outlawed – including

every medical office, church, public park, public conveyance, and entertainment

venue within the state. N.Y. Penal Law § 265.01-e; SA244-45. The CCIA adds to this

expansive list of prohibited places “any gathering of individuals to collectively express

their constitutional rights” (id. at (s)), requiring that New Yorkers choose between

exercising either First or Second Amendment rights.

      There is no way to opt out of the CCIA’s broad ban on firearms in “sensitive

locations.” For example, Plaintiff Joseph Mann could not even keep a firearm in his

own home for self-defense, because his parsonage is part of the same building as the

sanctuary of his Baptist Church. Similarly, Plaintiff Leslie Leman could not even

acquire a new firearm to keep at home, because his small town in upstate New York

is entirely surrounded by the rural Catskill Park – a place that the New York State

Constitution declares to be “forever … wild,” but which the CCIA classifies as yet

another one of the innumerable places entirely off limits to firearms. See § 265.01-

e(2)(d) (“parks” as a sensitive location); SA244.

      As a final act of retribution against gun owners for having prevailed in Bruen,

the CCIA declares all private property within New York to be a gun-free “restricted

location” – entirely banning firearm possession unless each property owner

affirmatively opts out by posting “clear and conspicuous signage” or otherwise

provides “express consent” to the presence of firearms. N.Y. Penal Law § 265.01-d;

SA243. Since most New York homeowners and proprietors cannot be expected to post

qualifying signage, the CCIA functionally eliminates the carrying of firearms on




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private property. Together with its list of “sensitive locations,” the CCIA all but

eliminates concealed carry in virtually all of New York. In fact, when asked whether

there would be any permissible locations left for public carry, Governor Hochul

responded “probably some streets.”2

      At bottom, the CCIA stands in direct defiance to Bruen, replacing the

repudiated “proper cause” requirement with a “good moral character” standard that

vests unbridled discretion in licensing officials to evaluate the bona fides of law-

abiding persons through an onerous, time-consuming, costly, and constitutionally

objectionable process. Then, even if an applicant is successfully able to run the

gauntlet and obtain a license, the CCIA makes it virtually impossible to use that

license in any meaningful way to carry a handgun outside the home, declaring great

swaths of public and private places to be entirely off limits to firearms.

Demonstrating no good-faith effort to comply with the Supreme Court’s mandate, the

CCIA instead nearly extinguishes the right of “ordinary, law-abiding citizens … to

carry handguns publicly for their self-defense.” Bruen at 2122, 2150. Plaintiffs,

together with countless other law-abiding New Yorkers, are being irreparably

harmed each day by what the district court described as a “patently unconstitutional”

law – which eviscerates the right to carry firearms in public for self-defense – remains

in place.




      2 See M. Kramer & D. Brennan, “Fresh off Primary Win, Gov. Kathy Hochul
Dives Right into Guns – Who Can Get Them and Where They Can Take Them,” CBS
N.Y., https://cbsn.ws/3HoZLJM (June 29, 2022).

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   Procedural Background.          Plaintiff Antonyuk’s challenge to the CCIA was

initially filed in the district court on July 11, 2022, but that action was dismissed

without prejudice based on lack of standing, including as to organizational plaintiffs

such as Gun Owners of America, who were representing the interests of the

additional plaintiffs who are now named in this case. Antonyuk v. Bruen (Antonyuk

I), 2022 U.S. Dist. LEXIS 157874 (N.D.N.Y. Aug. 31, 2022).

      On September 20, 2022, 19 days after the CCIA took effect, Plaintiffs filed their

Complaint for Declaratory and Injunctive Relief in this action, challenging a number

of provisions of the CCIA under Section 1983 pursuant to the First, Second, Fifth,

and Fourteenth Amendments.          JA17-196; JA82-88.     On September 22, 2022,

Plaintiffs filed their Motion for Temporary Restraining Order, Preliminary

Injunction, and/or Permanent Injunction.      JA197-212.    After Defendants filed a

response and after the district court held oral argument, the court granted a

Temporary Restraining Order on October 6, 2022, enjoining several provisions of the

CCIA. Antonyuk v. Hochul, 2022 U.S. Dist. LEXIS 182965 (N.D.N.Y. Oct. 6, 2022);

SA185-237.

      Defendants appealed the district court’s temporary restraining order to this

Court. Docket, 2d Cir. No. 22-2379. On October 12, 2022, a single judge granted

Defendants’ request for an “administrative stay” and referred their motion to stay

pending appeal to a panel for consideration. 2d Cir. No. 22-2379, Document 39.3




      3   Defendants’ first appeal was mooted and voluntarily dismissed.

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      On October 13, 2022, Defendants filed a 95-page Opposition to Plaintiffs’

Motion for Preliminary Injunction, plus over 500 pages of exhibits. On October 22,

2022, Plaintiffs filed their reply. The district court heard over two hours of argument

on October 25, 20224 and, on November 7, 2022, issued a preliminary injunction,

supported by a 184-page opinion. Antonyuk v. Hochul, 2022 U.S. Dist. LEXIS 201944

(N.D.N.Y. Nov. 7, 2022); SA1-184.

      The district court’s opinion meticulously analyzed (i) the standing of each

Plaintiff to bring each claim; (ii) whether each Defendant is a proper party to be sued

with respect to each provision; and (iii) the constitutionality under the Bruen

framework of each challenged portion of the CCIA. After making numerous factual

findings and legal conclusions, the district court’s opinion enjoined Defendants from

enforcing some of the provisions of the CCIA, including: (i) the requirement to

demonstrate “good moral character” as a condition of licensure; (ii) the demand for

names and contact information for household members; (iii) the demand for three

years of social media accounts; (iv) the demand for “such other information” as

necessary; and (v) the prohibition on firearms in some “sensitive locations,” including

certain healthcare settings, places of worship, parks, zoos, airports, buses, places

where alcohol is served, theaters, conference centers, banquet halls, and “any

gathering of individuals to collectively express their constitutional rights to protest

or assemble.” SA182-184. The district court also enjoined the CCIA’s ban on firearms

on private property. SA184.



      4   See https://bit.ly/3WPtBwo (Preliminary Injunction Hearing Transcript).

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      On November 8, 2022, some of the Defendants (the State defendants and

Syracuse Chief of Police Joseph L. Cecile) appealed again.5       Their appeal was

docketed on November 10, 2022 (see Docket, 2d Cir. 22-2908) and, on November 12,

2022, Defendants again sought both an administrative stay and a stay pending

appeal. No. 22-2908, Document 18. Before Plaintiffs could respond, this Circuit again

granted an “emergency interim stay.”      Document 31.     On November 19, 2022,

Plaintiffs filed their Response in Opposition to Defendants’ Motion. Document 38.

This Circuit granted Defendants’ Motion on December 12, 2022, without reasoning or

analysis. Document 75.

      On December 21, 2022, Plaintiffs filed an Application for Vacatur with the U.S.

Supreme Court. The Court ordered Defendants to file a response, and later denied

Plaintiffs’ application. However, Justice Alito, joined by Justice Thomas, issued a

statement explaining that the CCIA “presents novel and serious questions under both

the First and Second Amendments,” explaining that the “District Court found, in a

thorough opinion, that the [Plaintiffs] were likely to succeed on a number of their

claims.” Antonyuk v. Nigrelli, 2023 U.S. LEXIS 396 (Jan. 11, 2023). Justices Alito

and Thomas then criticized this Court’s stay as having been issued without “any

explanation for its ruling,” but agreed with the Court’s decision not to weigh at




      5 With the State Defendants and Chief Cecile being the exceptions, the other
Defendants below (sheriffs and district attorneys) neither defended the CCIA’s
constitutionality nor objected to the district court’s injunction halting its
enforcement. SA7.

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present, out of “respect for the Second Circuit’s procedures in managing its own

docket.” Id. at *1.

                             STANDARD OF REVIEW

      The standard for a preliminary injunction requires Plaintiffs to “establish that

[they are] likely to succeed on the merits, that [they are] likely to suffer irreparable

harm in the absence of preliminary relief, that the balance of equities tips in [their]

favor, and that an injunction is in the public interest.” Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008). “In cases alleging constitutional injury, a strong

showing of a constitutional deprivation that results in noncompensable damages

ordinarily warrants a finding of irreparable harm. Likelihood of success on the merits

is therefore ‘the dominant, if not the dispositive, factor.’” A.H. v. French, 985 F.3d

165, 176 (2d Cir. 2021).

      On review, this Court applies a “deferential abuse of discretion standard [and,]

as long as the district court did not act arbitrarily … will overturn the preliminary

injunction only if the district court made an error of law or a clearly erroneous finding

of fact.” Red Earth LLC v. United States, 657 F.3d 138, 144 (2d Cir. 2011). Finally,

the “‘status quo’ in preliminary-injunction parlance is really a ‘status quo ante,’”

which “shuts out defendants seeking shelter under a current ‘status quo’ precipitated

by their wrongdoing.” N. Am. Soccer League, LLC v. United States Soccer Fed’n, Inc.,

883 F.3d 32, 37 n.5 (2d Cir. 2018).




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                         SUMMARY OF THE ARGUMENT

      Appealing the district court’s grant of a preliminary injunction, Defendant-

Appellant Chief of Police Joseph L. Cecile (“Chief Cecile”) defends the Concealed

Carry Improvement Act (“CCIA”) with the claim that New Yorkers have the right to

“feel safe” and “expect[] a location free of firearms” in the very places New Yorkers

licensed to carry firearms have always lawfully carried arms. Without providing any

evidence, citation to legal authority, or even a colorable theory, Chief Cecile argues

that the CCIA is a vital tool to stop an alleged epidemic of gun violence. But as Chief

Cecile’s own sergeant has explained, “[h]omicide cases … are usually in connection to

gang activity”6 – not by carry license holders. Indeed, there is absolutely no evidence

that the CCIA will have any negative effect on public safety, as it regulates the

conduct only of the most law-abiding members of society who have undergone the

rigorous process to become licensed.7 In fact, as the district court concluded and as

the Supreme Court has indicated, the bearing of arms by “the people” likely

contributes to public safety. But regardless of what modern Americans (including

government officials) may think of the “right to … bear arms,” this nation’s Founders

decided that it was a protection “necessary to the security of a free State,” the exercise

of which “shall not be infringed.”




      6  See Smith, J., 2021 Homicide Rate in Syracuse Unchanged from 2020,
WAER88.3, available at https://bit.ly/3kVQhxY.
       7 See Debunking the Myth of “Concealed-Carry Killers,” available at

https://herit.ag/3kQNaqZ.

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      Arguing that Plaintiffs did not have standing to bring suit against him, Chief

Cecile first claims that a stated intent to visit the Rosamond Zoo in Syracuse “within

the next 90 days” is not concrete enough for his liking. On the contrary, Plaintiffs

need not incriminate themselves to law enforcement before having standing to

challenge a “patently unconstitutional” law. Second, Chief Cecile claims that his

statement that he “would enforce the CCIA” does not constitute a credible threat of

enforcement. Yet without skipping a beat, Chief Cecile argues that the CCIA is a

“critical tool” that he must employ to keep residents of his city safe. Third, Chief

Cecile claims that Plaintiffs must demonstrate they “will be arrested” and have

“certain confiscation” of their firearms in order to obtain standing – precisely what

this Court and the Supreme Court have stated is not required. Lastly, in arguing

that Plaintiffs do not have standing for any other location but the Rosamond Zoo,

Chief Cecile admitted that Plaintiffs do have standing as to that location.

      Next, Chief Cecile argues that Plaintiffs will not suffer irreparable harm from

him because they have not alleged, to his satisfaction, that any of them is a resident

of the City of Syracuse. Of course, residency is not a requirement for standing. In

fact, Chief Cecile has admitted that the Rosamond Zoo where Plaintiff Johnson

regularly visits is within his jurisdiction, has “little doubt” his officers would respond

to a man-with-a-gun call at the Zoo, and that he “would enforce” the CCIA if such a

complaint were made against Plaintiffs.

      Claiming that Plaintiffs are unlikely to succeed on the merits of their claims,

Chief Cecile claims that the Rosamond Zoo is not just a zoo, but has “additional




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protections” under the CCIA.     But Chief Cecile does not actually identify with

specificity what these other “protections” are, aside from speculating that

“presumably” there is some sort of government building within the Zoo, and that

various educational instruction occurs there from time to time. But by this logic, the

entire Adirondack mountains would become a “sensitive location” because of a few

college students on a backpacking trip.

      Next, Chief Cecile claims that the balance of the equities favors him, on the

theory that law-abiding and licensed gun owners peaceably carrying firearms in

public (i.e., the status quo for New York’s entire history) will suddenly now cause a

public safety crisis of unprecedented magnitude.        But the mere exercise of an

enumerated constitutional right cannot possibly serve as the predicate to balance

away the ability of Americans to exercise that right.

      Finally, Chief Cecile argues that Syracuse has a “history of firearm regulation”

which justifies the CCIA. Yet upon critical analysis, it becomes readily apparent that

the historical record strongly favors Plaintiffs.   Indeed, this country’s history is

replete with examples of colonists and early Americans possessing firearms in all of

the places the CCIA now declares off limits – (i) public squares, commons, and greens,

(ii) public assemblies, (iii) taverns and while consuming alcohol, (iv) during travel,

(v) on private property, (vi) in churches, and (vii) especially while exercising other

constitutional rights. Contrary to Defendants’ claims that guns can be banned almost

anywhere, a broad and enduring historical tradition demonstrates that early

Americans carried their arms almost everywhere.




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      The CCIA’s enjoined provisions are without historical support, and thus violate

the Second Amendment. This Court should affirm the district court’s opinion and

vacate its stay of the preliminary injunction below.

                                    ARGUMENT

      Chief Cecile “doth protest too much” with his full-throated defense of the

Concealed Carry Improvement Act and the City of Syracuse’s purported “need[] to

enforce and limit the proliferation of firearms” carried by law-abiding, responsible

gun owners “in places where the public deserves to feel safe.”           Cecile Br. 2.

Demonstrating no sense of irony, Chief Cecile first references Armory Square – a

place historically used for the keeping of arms – as a prime example of a place where

people should “have an expectation of a location free of firearms.” Id. But contrary

to Chief Cecile’s belief, “feel safe” is not a factor the Supreme Court has provided for

analyzing a Second Amendment challenge. See Bruen at 2126 n.3 (“The right to keep

and bear arms … is not the only constitutional right that has controversial public

safety implications.”) (quoting McDonald v. City of Chicago, 561 U.S. 742, 783 (2010));

see also id. at 2157 (Alito, J., concurring) (rejecting the idea that concealed carry

licensing laws will deter acts of violent crime by criminals); SA77-78 (concluding that

safety is actually likely enhanced by firearms lawfully carried in public).

      Chief Cecile claims, without citation to authority, that in “2022 alone ... there

were 757 shots fired incidents in the City, 166 of which resulted in known injury or

fatality.” Cecile Br. 2. While Chief Cecile may accurately be quoting statistics

applicable to Syracuse, he never allowed the district court an opportunity to review




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this information, this being the first time it has been briefed. Moreover, at best these

data appear to be missing important context, as the City in 2022 reportedly had “[t]he

lowest number of … homicides … in a decade.”8 Nor has Chief Cecile explained how

many of the purported 166 City-wide shootings were committed by licensed concealed

carry holders (those governed by the CCIA) as opposed to, for example, violent felons

who already are prohibited from obtaining a carry license, or even possessing a

firearm. Plaintiffs submit that it is highly likely that not a single one of these

Syracuse shootings was committed by a New Yorker licensed to carry a handgun.

Chief Cecile’s attempt to paint the CCIA as a law necessary to solve the City’s

problem of gun violence is entirely unpersuasive.

   I.       THE DISTRICT COURT PROPERLY FOUND STANDING.

        Chief Cecile spends nearly five pages of his brief summarizing a plethora of

precedents discussing all manner of aspects of standing. See Cecile Br. 8-13. After

amassing this great number of authorities, Chief Cecile claims that Plaintiff Johnson

did not have standing in this case as against Chief Cecile, raising what appear to be

four arguments in support. Id. 13-16.

        First, Chief Cecile alleges that Johnson’s declaration “is bereft of any specific

facts as to any actual damages suffered or risked by going to the Rosamond Zoo,”

claiming that Johnson’s statement of intent to visit the Zoo with his firearm “at least

once, within the next 90 days … is hardly concrete and particularized to overcome




       A. Hayes, “Syracuse Homicides in 2022: The Lowest Number of Deaths in a
        8

Decade,” SYRACUSE.COM, https://bit.ly/3jffWkB (Jan. 4, 2023).

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anything more than a ‘some day’ intention.”       Id. 13-14 (citing Lujan v. Defs. of

Wildlife, 504 U.S. 555 (1992)). Apparently Chief Cecile would like Johnson to provide

him with a specific date, time, and location. But the Supreme Court has rejected such

a requirement to establish standing; Plaintiff Johnson (“Johnson”) need not confess

to committing a crime, nor must he otherwise “expose himself to actual arrest or

prosecution to be entitled to challenge a statute that he claims deters the exercise of

his constitutional rights.” Steffel v. Thompson, 415 U.S. 452, 459 (1974); see also

MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 128-29 (2007) (“[W]here

threatened action by government is concerned, we do not require a plaintiff to expose

himself to liability before bringing suit to challenge the basis for the threat – for

example, the constitutionality of a law threatened to be enforced.”).

      Indeed, the CCIA prohibits Johnson from carrying a firearm for self-defense at

the Rosamond Zoo, “a course of conduct arguably affected with a constitutional

interest[] but proscribed by a statute,” and he has “allege[d] ‘an intention to engage

in’” such conduct with imminent specificity. Susan B. Anthony List v. Driehaus, 573

U.S. 149, 159 (2014) (quoting Babbitt v. UFW Nat’l Union, 442 U.S. 289, 298 (1979));

Bruen at 2122 (“[T]he Second and Fourteenth Amendments protect an individual’s

right to carry a handgun for self-defense outside the home.”). The “actual damage[]

suffered or risked by going to the Rosamond Zoo,” Cecile Br. 13, is the threat of

prosecution for – and resulting deterrence against – engaging in constitutionally

protected conduct, whose loss “for even minimal periods of time[] unquestionably

constitutes irreparable injury” for purposes of a preliminary injunction. Elrod v.




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Burns, 427 U.S. 347, 373 (1976).       Moreover, Johnson need only allege “that a

prosecution is remotely possible” under these circumstances for this challenge to be

“susceptible to resolution by a federal court.” Babbitt, 442 U.S. at 299. Johnson has

met his burden.

      Second, Chief Cecile claims that “his comments at a press conference,” to the

effect that he “would enforce the CCIA on a ‘complaint driven’ basis,” do not establish

a credible threat of enforcement for Johnson or anyone. Cecile Br. 8, 14. On the

contrary, as the district court explained, “s[t]anding may not be evaded by even the

most reluctant of defendants … by saying that he or she is ‘only’ going to enforce the

CCIA to the limited extent of seizing the license holder’s valuable personal property

(purchased for self-defense), because such a seizure is pursuant to a criminal

proceeding initiated under the CCIA, and the right in question is one enumerated in

the Constitution.”    SA44.    Indeed, even complaint-driven enforcement is still

enforcement.

      Chief Cecile has never disputed the accuracy of his quoted statement and has

never (and still does not) disavow enforcement of the CCIA. See Babbitt, 442 U.S. at

302 (“the State has not disavowed any intention of invoking the criminal penalty

provision ... Appellees are thus not without some reason in fearing prosecution for

violation of the ban….”). Quite to the contrary, in fact, Chief Cecile’s brief mounts a

full-throated defense of and explanation as to why the CCIA’s provisions are

necessary, claiming that the public “ha[s] an expectation of a location free of firearms”

in “places where the public congregate,” including in “parks” such as the ones that




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Johnson says he “routinely” visits, and presumably the Rosamond Zoo, which

Johnson announced his intent to visit. Cecile Br. 2.        In other words, although

attempting to downplay his prior statement about enforcing the CCIA, Chief Cecile’s

brief actually makes all the more pellucid his intent to robustly enforce the CCIA –

an allegedly “critical tool in the City’s ability to protect its residents” – against

responsible, law-abiding gun owners like Johnson, who have gone through the

rigorous process to become licensed to carry firearms. Id. It is thus far from “remotely

possible” or “imaginary or speculative” that Johnson would be arrested for exercising

his Second Amendment rights to public carry at the Rosamond Zoo or in Syracuse

generally.   This certainly meets the Supreme Court’s test for a credible threat

sufficient to provide standing. See Babbitt, 442 U.S. at 298-99.9

      Third, Chief Cecile speculates that Johnson would only be arrested based on a

“complaint” after being caught with a firearm, which the Chief apparently believes is

unlikely. Cecile Br. 15. But other than direct interaction with law enforcement (such

as a traffic stop, a bag check, or a stop and frisk), a member of the public calling the

police is the only way the CCIA would ever be enforced, short of Johnson turning

himself in to police after violating the CCIA. In reality, Chief Cecile has laid out a

reasonably likely scenario where he would enforce the CCIA against Johnson – being

discovered carrying his firearm, and having the police called to respond.



      9  See also Avitabile v. Beach, 277 F. Supp. 3d 326, 331-32 (N.D.N.Y. 2017) (the
plaintiff “publicly announced his own” intent to violate the law, “conduct that would
be likely to result in his prosecution.” “Indeed, it is hard to imagine what, if any,
additional conduct he might be required to engage in to trigger a more ‘credible’ threat
of prosecution short of actually committing the proscribed act.”).

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       Chief Cecile claims that Johnson has not “been threatened with certain

confiscation of his firearm, revocation of his license, or prosecution,” and that he has

not alleged that he “will be” arrested by the Syracuse Police Department while at the

Rosamond Zoo. Cecile Br. 15-16 (emphasis added). But that is not the test for

standing – Johnson must demonstrate a “credible” threat of enforcement, not a

“certain[ty],” nor does he have to wait for his actual arrest to occur. See Babbitt, 442

U.S. at 302-03 (noting that even if a “criminal penalty provision has not yet been

applied … when fear of criminal prosecution under an allegedly unconstitutional

statute is not imaginary or wholly speculative a plaintiff need not ‘first expose himself

to actual arrest or prosecution to be entitled to challenge [the] statute’” and further

explaining that the statute “authorize[d] imposition of criminal sanctions against”

violators, and the plaintiffs “will in the future engage in” proscribed conduct); see also

League of Women Voters of the U.S. v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016)

(“Damocles’s sword does not have to actually fall … before the court will issue an

injunction.”).

       Fourth, Chief Cecile claims that the Zoo is the “only location alleged with any

(barely) cognizable nexus to Chief Cecile.” Cecile Br. 13. It is unclear what Chief

Cecile hopes to accomplish with this statement, other than to concede that there is at

least one location in this case with a “cognizable nexus” to his jurisdiction.10 To quote



       10 To be sure, visits to the Rosamond Zoo are not Johnson’s only nexus for
standing against Chief Cecile. Indeed, he has stated an intent to “routinely” carry
his firearm in all sorts of additional locations within Onondaga County, and Plaintiffs
have explained that “Defendant Cecile’s jurisdiction includes places where Plaintiffs
intend to be in violation of the CCIA.” JA24 at ¶ 14; JA135, 137-138, 140. As the

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Futurama, “technically correct is the best kind of correct.” See Lane v. United States,

2020 U.S. Dist. LEXIS 54545, at *14 n.51 (N.D. Tex. Mar. 30, 2020). Johnson’s

standing as to Chief Cecile is broader than simply the Rosamond Zoo, but the Zoo is

certainly sufficient.

   II.      THE DISTRICT COURT PROPERLY FOUND JOHNSON WOULD
            SUFFER IRREPARABLE HARM.

         Placing all his eggs into one basket, Chief Cecile argues that “Plaintiff Johnson

does not claim to be a resident of the City” of Syracuse. Cecile Br. 17. Based on that

single premise, Chief Cecile concludes that Johnson was unable to show irreparable

harm below. Id. 19. But Chief Cecile’s premise is faulty, and his conclusion fails, for

one very simple reason. That is because there is nothing requiring that Johnson be

a resident of the City of Syracuse11 as a condition of Chief Cecile being a proper

Defendant as to the Rosamond Zoo and all other locations within the City where he

has stated his intent to enforce the CCIA. Focusing entirely on Johnson’s residency,

Chief Cecile fails to recognize that any person who resides within New York, who




district court explicitly noted, the Defendants (including Chief Cecile) waived the
opportunity to cross-examine Johnson at the court’s October 25, 2022 hearing. SA38.
Nor has Chief Cecile ever alleged that such locations (other than “Longhorn
Steakhouse”) are not within Syracuse and thus outside his jurisdiction. See, e.g.,
JA140 (“routinely carr[ies his] firearm when out and about in public, including” at
various locations in Onondaga County, including “gas stations, grocery stores, home
improvement stores, big box stores”); JA137 (eating at restaurants that serve
alcohol); JA135 (“routinely carr[ies his] handgun when [he] leave[s] home”); JA135-
136 (“routinely” in “numerous parks”).
       11 Not that it matters, but if Chief Cecile had any questions about Johnson’s

residency, he could have inquired – yet “Defendants waived their right to cross-
examine Plaintiff Johnson at the Preliminary Injunction Hearing on October 25,
2022.” SA38.

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possesses a valid concealed carry license, and who intends to visit the Zoo with his

firearm, could obtain injunctive relief against Chief Cecile – the chief law enforcement

officer in the City – who has admitted that the Zoo is within the City (Cecile Br. 19;

ECF#47-9 at n.8); has admitted that his jurisdiction includes the Zoo (ECF#47-9 at

n.8); has admitted that his department would respond to a call to “crimes in progress”

at the Zoo (id.); and has stated that he would enforce the CCIA in such circumstances.

Johnson’s residency, then, is nothing more than a straw man designed to distract.

Chief Cecile appears to admit as much, later claiming that Johnson “did not claim to

be a resident or even a frequent visitor.” Cecile Br. 24 (emphasis added). But even

that is not required.    Johnson explained that he regularly visits the Zoo, and

announced his intent to visit the Zoo and to do so armed. That is enough. Certainly,

Chief Cecile has pointed this Court to no authority for the proposition that the Second

Amendment right to bear arms in public in Syracuse extends only to those who have

alleged, to the Chief’s satisfaction, residency within the City.

      Next, Chief Cecile argues that no irreparable harm to Johnson could occur

“with respect to the Rosamond Zoo” – at least not from Chief Cecile. Cecile Br. 19.

In support of this claim, Chief Cecile claims that the Zoo “is not a City-owned zoo,”

but rather “is owned and controlled by the County,” and has “its own police force

(County Park Rangers).” Id. 19-20. Of course, Chief Cecile has admitted that his

officers would respond to “high priority calls or crimes in progress” within the Zoo.

SA43; ECF#47-9 at 9 and n.8 (“not suggesting that [the Syracuse Police Department]

would decline to respond to an emergency at the Zoo” and “does not doubt that SPD




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has jurisdiction to make arrests, and would indeed to respond to high priority calls or

crimes in progress...”). As a report of a person carrying a firearm in a “sensitive

location” is, by definition, a “crime[] in progress,” the district court had “little doubt

that, if there were a gun incident reported at the Zoo, the Syracuse Police Department

would promptly respond….” SA43. Omitting any reference to his admissions and the

district court’s conclusion, Chief Cecile instead focuses on the district court’s

statement that “some uncertainty appears to exist regarding whether [a] 911 call

would result in the dispatching of a Syracuse Police Officer or a County Deputy

Sheriff … in addition to any County Park Ranger available.” SA43; Cecile Br. 20-21.

But by that logic, no one could ever bring a challenge to a “sensitive location” situated

in a location with overlapping jurisdictions (i.e., every “sensitive location” within the

State), because each potential defendant who enforces the law (city police, county

sheriff, park ranger, state police, and who-knows-who-else) could simply point the

finger at the others to avoid liability. That is not the law.

   III.     PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS
            AGAINST DEFENDANT CECILE.12

   Chief Cecile claims that Plaintiffs are unlikely to prevail on the merits of their

challenge to the CCIA’s ban on firearms in zoos, claiming that “the Rosamond Zoo [is]

more than simply a ‘zoo’ and enjoy[s] additional protections as a ‘sensitive location.’”

Cecile Br. 22. As a preliminary matter, Chief Cecile apparently does not challenge

Plaintiffs’ likelihood of success on the merits with respect to the Rosamond Zoo as a




      12   Plaintiffs address the arguments made in Chief Cecile’s Section III.A above.

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zoo, but rather only to the extent that it allegedly is “more than simply a ‘zoo’....” Id.

(emphasis added). In failing to challenge Plaintiffs’ likelihood of success with respect

to the Zoo itself, Chief Cecile (i) either concedes the issue or (ii) for some reason

believes that the entire property within the boundaries of the Rosamond Zoo somehow

can be declared off limits to firearms on the theory that contained somewhere within

its borders is a tiny speck of real estate designated as a separate “sensitive location.”

But under that logic, in addition to its classification as a “sensitive location” because

it is a park, the entire Catskills State Park would also be a “sensitive location”

because there is a playground somewhere within its 286,000 acres. On the contrary,

the idea that entire facilities can be declared sensitive places based on some limited,

partial, occasional, and entirely tangential use stretches Bruen (not to mention logic)

beyond its breaking point.

      Next, Chief Cecile speculates – but never offered any evidence below

demonstrating13 – that “[p]resumably, the Rosamond Zoo contains County

building(s), such as those housing the Park Rangers assigned to the Rosamond Zoo.”

Cecile Br. at 23 (emphasis added). Chief Cecile offers not a shred of evidence that

such a place actually exists, much less does he describe with any specificity its

purpose, control, and use. Chief Cecile cannot seriously expect this Court to find

Plaintiffs unlikely to succeed on the merits based on his speculation that the




      13 Defendant made this claim “upon information or belief” below (Opp. 20) but,
given the opportunity to present evidence at two separate hearings in the district
court, did not do so.



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Rosamond Zoo “presumably” contains a certain type of government building within

its borders.   Even so, the CCIA does not ban firearms merely in any “County

building(s),” but in places that have the “purpose of government administration....”

N.Y. Penal Law § 265.01-e(2)(a). Indeed, any administrative offices within the Zoo

are not for the “purpose of government administration” (like a courthouse, polling

place, or legislative assembly), but rather administration of the Zoo on behalf of the

public. See Christian v. Nigrelli, 2022 U.S. Dist. LEXIS 211652, at *18 (W.D.N.Y.

Nov. 22, 2022) (discussing “exceptional circumstances under which one could not

carry arms, such as before justices of the peace and other government officials”).

      Finally, Chief Cecile claims that “the Rosamond Zoo operates, in part, as an

educational facility” because it contains “a teaching hospital for Cornell University

College of Veterinary Medicine’s zoological medicine program.”         Cecile Br. 23.

Unsurprisingly, Chief Cecile never explains the nature and scope of this “program.”

But a place does not become an “educational facility” simply because learning occurs

there. Indeed, the Cornell program states merely that “[v]eterinary faculty and

students visit the zoo to oversee preventative medical programs and offer medical and

surgical treatments.”14   Under Chief Cecile’s logic – that a place becomes an

“educational facility” merely because students and teachers “visit” it – the entire

Adirondack mountains would be a “sensitive location” because Cornell University

offers a “6 Day Backpacking in the Adirondacks” trip as part of its Physical Education




      14  Zoological Medicine, CORNELL UNIV., https://bit.ly/3RdaM5n (last visited
Jan. 29, 2023).

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department.15       It is a small wonder that Chief Cecile does not also claim the

Rosamond Zoo to be a “location providing health ... care or services” (N.Y. Penal Law

§ 265.01-e(2)(b)), and thus a “sensitive location” under the CCIA, on the grounds that

Zoo staff provide dental exams to camels and maternity services to birds by

incubating their eggs.

         In short, Chief Cecile has failed to explain the scope and the nature of various

“presum[ed]” facilities at the Rosamond Zoo; has failed to explain how these facilities

fall within the scope of any of the other “sensitive locations” within the CCIA; and

has failed to show how the CCIA’s ban on firearms in such “sensitive locations” is

justified by any historical tradition under Bruen.16

   IV.        THE DISTRICT COURT PROPERLY HELD THE BALANCE OF
              EQUITIES AND PUBLIC INTEREST FAVORED PLAINTIFFS.
         Chief Cecile correctly states the standard that the “public interest and

balances of equities merge” when the government is a party, but then merely repeats

various arguments previously made with respect to standing, the merits, and


         156 Day Backpacking in the Adirondacks, CORNELL OUTDOOR EDUC.,
https://bit.ly/3Hktao3 (last visited Jan. 29, 2023).
       16 In fact, Defendant does not offer a single historical analogue at all, nor does

he even begin to conduct a Bruen analysis. In fact, his brief does not even reference
the Supreme Court’s decision. To be sure, in his introductory “preliminary
statement,” Defendant alleges that “the City has a history of firearm regulation that
goes back to at least 1894, when it was the City’s chief of police who was ‘authorized
to issue permits [to carry pistols in the City] for such purpose, in proper cases.’” Cecile
Br. 2. Of course, that is just a single city with a very limited population, which is an
unhelpful historical source under Bruen. See Bruen at 2154. This also represents a
single historical source, which “does not a tradition make.” Id. at 2155. Next, being
in 1894, this reference is centuries after the Founding era (and decades after the
Reconstruction era), making it completely irrelevant under Bruen. Id. Finally, Chief
Cecile’s historical reference deals with permitting, whereas Defendant’s brief deals
with “sensitive locations” – different issues entirely.

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irreparable harm.17 Cecile Br. 24-25. Chief Cecile then makes a single, entirely

conclusory claim about “the City’s imperative to protect all of its citizens – an

imperative that has been impeded by the proliferation of guns in the City and ever-

changing gun laws.” Id. 25. But as explained above, Chief Cecile has entirely failed

to provide any theory (much less any evidence) as to whether or how the CCIA will

reduce gun violence within the City, as the CCIA involves only the carry of firearms

by law-abiding gun owners who have gone through a rigorous process to become

licensed by the State to bear arms. It seems unnecessary to repeat the maxim that

“guns don’t kill people; people kill people,” but Chief Cecile simply cannot claim a

public safety crisis created by nothing more than the exercise of constitutional rights

by ordinary, law-abiding Americans.       Indeed, if the Chief’s “compelling need”

argument were meritorious, then Bruen would have been decided the other way,

accepting rather than rejecting New York’s “argument [to] in effect exempt cities from

the Second Amendment and … eviscerate the general right to publicly carry arms for

self-defense.…” Bruen at 2134.

      And even if Chief Cecile had demonstrated some actual public safety benefit to

be derived from the CCIA’s onerous restrictions, it would come at the cost of the

disarmament of law-abiding gun owners, an unacceptably high cost, as “[t]he right to

keep and bear arms … is not the only constitutional right that has controversial

public safety implications.” McDonald, 561 U.S. at 783. Such enumerated rights




      17The scant points raised by Chief Cecile in this section have been dealt with
supra, and are adopted by reference.

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cannot be balanced away by legislators, police chiefs, or even judges, because “the

Second Amendment is … the very product of an interest balancing by the people … it

… elevates above all other interests the right of law-abiding, responsible citizens to

use arms in defense….” District of Columbia v. Heller, 554 U.S. 570, 635 (2008).

      Despite the Chief’s claim of “need” to enforce additional gun laws, he cannot

plausibly claim he is somehow harmed from temporarily halting enforcement of an

unconstitutional law: “the public consequences in employing the extraordinary

remedy of [injunctive relief]” are not just the vindication of constitutional rights but

also the prevention of their egregious curtailment. Yang v. Kosinski, 960 F.3d 119,

135-136 (2d Cir. 2020). Indeed, it is always in the public interest to enjoin an

unconstitutional law. See, e.g., Martin-Marietta Corp. v. Bendix Corp., 690 F.2d 558,

568 (6th Cir. 1982). The government has no “interest in the enforcement of an

unconstitutional law.” N.Y. Progress & Prot. PAC v. Walsh, 733 F.3d 483, 488 (2d

Cir. 2013); see also Airbnb, Inc. v. City of New York, 373 F. Supp. 3d 467, 500 (S.D.N.Y.

2019) (same); Dzhabrailov v. Decker, 2020 U.S. Dist. LEXIS 91892, at *31 (S.D.N.Y.

May 26, 2020) (same); Sajous v. Decker, 2018 U.S. Dist. LEXIS 86921, 2018 WL

2357266, at *13 (S.D.N.Y. May 23, 2018) (“The public interest is best served by

ensuring [] constitutional rights … are upheld.”).

      In short, Chief Cecile has offered nothing for this Court to find that the district

court abused its discretion in holding that Plaintiffs made a “strong showing that the

balance of equities tips in their favor and that the public interest would not be

disserved by the Court’s granting of the” preliminary injunction.         SA180.    And




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because “securing First Amendment rights is in the public interest,” securing Second

Amendment rights is likewise in the public interest. N.Y. Progress & Prot. PAC, 733

F.3d at 488.

   V.      THE HISTORICAL RECORD SUPPORTS PLAINTIFFS, NOT
           DEFENDANTS.

        Both Defendant Cecile and the State Defendants (together, “Defendants”) have

argued that this nation’s historical tradition supports the CCIA under the Bruen

framework. Appellants’ Br. 21–24; Cecile Br. 2 (claiming “the City has a history of

firearm regulation that goes back to at least 1894, when it was the City’s chief of

police who was ‘authorized to issue permits [to carry pistols in the City] for such

purposes, in proper cases”). Additionally, Defendant Cecile “adopt[ed] the arguments

raised in the State Defendants’ Appellate Brief concerning the constitutionality of the

CCIA.” Cecile Br. 24.

        However, contrary to Defendants’ revisionist attempts at reading a broad anti-

gun tradition into American history, countless historical sources actually support the

opposite – a tradition of firearms present always and everywhere – either allowing or

even requiring arms in many locations that are now off limits under the CCIA. Such

locations where the founding generation frequently went armed include (i) public

squares, commons, and greens, (ii) public assemblies, (iii) taverns and while

consuming alcohol, (iv) during travel, (v) on private property, (vi) in churches, and

(vii) especially while exercising other constitutional rights.

        For example, Boston Common is reportedly the nation’s first “public park,”




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having been established in 1634.18 More than a century later, nearby Faneuil Hall

served as a “site of meetings, protests, and debate” during the Revolutionary War,19

hosting a “volunteer militia company” with the mission to “prepare its members to

serve as officers in the enrolled militia companies,” which included meetings there

(including maintaining an “armory”) and later “at a tavern in town and drill[s] on the

[Boston] Common.”     Leonid Kondratiuk, A Guide to the Ancient and Honorable

Artillery Company of Massachusetts at 2, 9.20 This single historical record evidences

a rich history of private persons openly possessing arms (i) in public parks, (ii) at

gatherings of individuals to engage in protest and assembly, and (iii) at a tavern that

served alcohol. Similarly demonstrating an enduring historical tradition:

      It is a most strange historical coincidence that on April 19, 1689, the
      Concord militia was assembled on the Village Green and started from
      there for Boston to overthrow Governor Andros; that on April 19, 1775,
      at the very same hour, the militia was again assembled on the Concord
      Green to begin the fight of the Revolutionary war; that on April 19, 1812,
      the militia was again called out to participate in the second war with
      Great Britain; that on April 19, 1848, the soldiers met on the Concord
      Green to take up arms to fight in the Mexican war; that on April 19,
      1861, the Concord Green was the place of assembly and the starting
      point of the brave boys to fight in the Civil War; and that on April 19,
      1898, resolutions were passed by the Concord Militia to respond to the
      call for troops for the Spanish war. [F.S. Dennis, The Norfolk Village
      Green (1917) at 9.]21

      Indeed, such broad acceptance of armed public assembly dated back to colonial

Massachusetts, which required “all such persons ... come to the publike assemblyes


      18 https://www.boston.gov/parks/boston-common.
      19 https://www.nps.gov/bost/learn/historyculture/fh.htm.
      20 See L. Kondratiuk, A Guide to the Ancient and Honorable Artillery Company

of Massachusetts, https://bit.ly/3Y6uCkT.
      21 See F. Dennis, The Norfolk Village Green (1917), https://bit.ly/3HITCcK.



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with their muskets….” 1 Records of the Governor and Company of the Massachusetts

Bay in New England, 1628–1641, 190 (Nathaniel B. Shurtleff ed., 1853),

https://bit.ly/3XzOIEg. Founding-era New York had a similar tradition of sanctioning

armed public gatherings, requiring militia colonels to organize their local regiments

at least twice a year for examination and training at town centers and undeveloped

land that later became the public parks of today. JA334, 346. Contemporaneously

to the 1773 Boston Tea Party, armed colonists descended on Boston and “bought up”

all the “pistols in town,” thereafter meeting “to the number of five or six thousand ...

in the Old South Meeting house....” W. Sargent, Letters of John Andrews, Esq., of

Boston, 1772-1776, Massachusetts Historical Society, at 12.22 The following year,

when General Gage attempted to stop a public assembly protesting the Crown, “there

was upwards of three thousand men assembled there … being sufficiently provided

for such a purpose; as indeed they are all through the country – every male above the

age of 16 possessing a firelock with double the quantity of powder and hall enjoin’d

by law.” Id. at 34.

      Recognizing the dangers inherent to traveling, colonial Virginia and

Massachusetts required that travelers arm themselves. See William Waller Henning,

1 The Statutes at Large, Virginia 1619, 127 (1823), https://bit.ly/3J92ZmP; 1 Records

of the Massachusetts Bay, supra, at 85, https://bit.ly/3WyeoQr.          Virginia also

mandated those working outside to keep arms within ready access for self-defense.

Henning, supra, at 198, https://bit.ly/3kCAvI8.       This tradition of armed travel



      22   https://bit.ly/3DjsuOJ.

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continued through the Revolutionary period. See Sargent at 6 (“April 11, 1776 ...

Benjamin Hitchborn ... sat near the chimney ... preparing for use a pair of pistols –

without which, in those days, one ventured to travel.”).

      Although perhaps uncomfortable to modern sensibilities, during the founding

era, guns and alcohol did indeed mix. For example, one pastor recounted in 1802

encountering “people coming from a militia muster, drunk, and staggering along the

lanes and paths….” The Journal of The Rev. Francis Asbury, Bishop of The Methodist

Episcopal Church, from August 7, 1771, to December 7, 1815 (1821) at 121.23

Likewise, “in the fall of 1840 … the Racine Militia gallantly trained til noon, when

they adjourned to the Fulton House for dinner, where they all got so drunk they

couldn’t muster at all in the evening.” F.S. Stone, Racine Belle City of the Lakes and

Racine County Wisconsin (1916) at 476.24 A different source recounts that “[t]here

had been a muster of a militia company on the church green” where “the members of

the company … [were] treated … to sweetened rum….” P. Godwin, A Biography Of

William Cullen Bryant, With Extracts From His Private Correspondence (1883) at

16-17 (the date of this event is unclear, but Bryant was born in 1797). In short, “[a]t

that time … it was the universal custom, in all regiments of the militia … for the

officers, on every muster day, to get gloriously drunk in their country’s service.”

Reminiscences of a Retired Militia Officer, The New-England Magazine Vol. 3 (1832)

at 111.25



      23 https://bit.ly/3DgPVrU.
      24 https://bit.ly/3wyv4N4.
      25 https://bit.ly/3kEqJoJ.



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      Perhaps one of the most enduring American traditions involves attending

religious services while armed. Immediately preceding the Revolution, Pastor Peter

Muhlenberg, a member of the “Black Robe Regiment” – named so by the British who

recognized the key role that American pastors played in raising armed resistance –

“called upon his parishioners to support the American cause by proclaiming ‘there is

a time to preach and a time to fight, and now is the time to fight!’ With those words,

he displayed the uniform of a Continental colonel and promptly recruited 300

members of his parish.”26 This mixing of arms and religion was no outlier event –

Virginia, South Carolina, and Georgia in fact demanded churchgoers attend services

armed. Narratives of Early Virginia, 1606–1625, 273 (Lyon Gardiner Tyler ed.,

1907), https://bit.ly/3XRQPTO; 7 The Statutes at Large of South Carolina, 417 (David

J. McCord ed., 1840), https://bit.ly/3R3aOg8; 19 The Colonial Records of the State of

Georgia, 1768–1773, 138 (Allen D. Candler ed., 1911), https://bit.ly/3GXMXtz.

      The above represent merely a few examples of a robust American historical

tradition of firearm ownership and use. Far from supporting the CCIA’s limits on the

ability of law-abiding persons to bear arms almost anywhere, a broad and enduring

historical tradition demonstrates that early Americans carried their arms almost

everywhere. To be sure, Plaintiffs are not obligated to provide such a record in order

to successfully challenge the CCIA, yet these sources further demonstrate the utter

failure of Defendants to provide relevant historical analogues for acts of infringement




      26“Brigadier General John Peter Gabriel Muhlenberg,” Yorktown Battlefield,
National Park Service, https://bit.ly/3wZNSFn.

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on the Second Amendment through the sort of restrictions the CCIA imposes.

                                   CONCLUSION

      For the reasons stated, this Court should (i) affirm the district court’s opinion

and order, and (ii) should vacate its stay of that order pending appeal.

                                               Respectfully submitted,
Dated: February 1, 2023

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                       CERTIFICATE OF COMPLIANCE
      Pursuant to Rule 32(a) of the Federal Rules of Appellate Procedure, I, Stephen

D. Stamboulieh, one of the attorneys for Plaintiffs-Appellees, hereby certify that

according to the word count feature of the word processing program used to prepare

this brief, the brief contains 8,303 words and complies with the typeface requirements

and length limits of Rule 32(a)(5)-(7) and Local Rule 32.1.


                                               /s/ Stephen D. Stamboulieh
                                               Stephen D. Stamboulieh




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